                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                      *

       v.                                     *         Case No. 21-MJ-00146-TMD

CODY W.G. MOHR                                *

                 Defendant.                   *

*      *         *      *      *       *      *         *    *        *    *       *       *

                UNOPPOSED MOTION TO MODIFY RELEASE CONDITIONS

       Defendant Cody Mohr, through counsel Andrew C. White, hereby moves this Honorable

Court to modify his conditions of release as follows:

       1.        On the afternoon of January 20, 2021, Cody Mohr was arrested and charged with

making threats to damage or destroy a building by means of an explosive pursuant to 18 U.S.C. §

844(e). None of the threats involved a phone call or direct message to anyone who might be the

subject of the threat. Instead, the messages were sent by Mr. Mohr via Twitter to his followers

and were universally received by them as being comedic and not taken seriously. As one follower

noted, the tweets were “non-actionable parody.” Mr. Mohr deleted the tweets shortly after they

were posted.

       2.        Mr. Mohr was arrested on January 20, 2021 and remained incarcerated at the CDF

through February 5, 2021, when this Court granted his Motion for Release from Detention (ECF

No. 18). On the same day, this Court issued an Order Setting Conditions of Release (ECF No. 19),

that included the following conditions and restrictions on Mr. Mohr:

            •    Promise to appear in court and surrender to serve any sentence imposed;
            •    Placed in the custody of his mother, Shirley Mohr;
            •   Requirement to report on a regular basis to his supervising officer and promptly
                obey all instructions;
            •   Surrender his passport;
            •   Obtain no passport;
            •   Restricted travel to the District of Maryland;
            •   Undergo medical or psychiatric treatment as required by Pretrial Services;
            •   Refrain from possessing any firearms;
            •   Refrain from the use of any alcohol;
            •   Refrain from the use or possession of narcotics;
            •   Submit to 24/7 lockdown, with location monitoring restricted to his residence
                except for medical purposes, court appearances, or other activities approved by the
                Court; and
            •   Refrain from the use of all computer systems, internet capable devices and/or
                similar electronic devices at any location, including for employment or educational
                purposes.
       3.       Since his release from the CDF over seven months ago, has fully complied with all

conditions of his release, including regularly reporting to and following directions of his Pretrial

Services Officer. He has had no access to the Internet and is unable to work or attend his college

courses.

       4.       Mr. Mohr requests that the following conditions of release now be removed:

            •   Submit to 24/7 lockdown with location monitoring restricted to his residence except

                for medical purposes, court appearances, or other activities approved by the Court;

                and

            •   Refrain from the use of all computer systems, internet capable devices and/or

                similar electronic devices at any location, including for employment or educational

                purposes.
       5.      Specifically, Mr. Mohr requests that the requirement of home confinement be

removed so he can go about the task of restarting his life.

       6.      Mr. Mohr further requests that he be permitted to access the internet subject to any

monitoring deemed appropriate by the U.S. Probation Office.

       7.      The undersigned spoke with both Assistant U.S. Attorney P. Michael Cunningham

and U.S. Probation Officer Dollie Sturgis and is authorized to represent to this Court that neither

the United States nor the Probation Office oppose the proposed modifications.

       8.      It does not appear that a court hearing is required because all of the parties are in

agreement with respect to the proposed modifications of Mr. Mohr’s release conditions.

       Accordingly, Defendant Cody Mohr respectfully requests that this Court grant the

requested modification of his release conditions. All other terms and conditions of the defendant’s

current release conditions not inconsistent with this order will remain in full force and effect.


                                       Respectfully submitted,


                                              /s/
                                       Andrew C. White (Bar No. 08821)
                                       Silverman|Thompson|Slutkin|White|LLC
                                       201 N. Charles Street, 26th Floor
                                       Baltimore, Maryland 21201
                                       T: 410.385.2225
                                       F: 410.547.2432
                                       awhite@silvermanthompson.com
                                 CERTIFICATE OF SERVICE

       I hereby certify that on September 10, 2021, I electronically filed the foregoing Unopposed

Motion to Modify Release Conditions using the CM/ECF system which will send notification of

such filing to all counsel of record and parties.


                                                     /s/
                                               Andrew C. White (Bar No. 08821)
